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                                     #:2321


  1   KAMALA D. HARRIS
      Attorney General of California
  2   MARK R. BECKINGTON
      Supervising Deputy Attorney General
  3   JONATHAN M. EISENBERG
      Deputy Attorney General
  4   State Bar No. 184162
       300 South Spring St., Ste. 1702
  5    Los Angeles, CA 90013
       Telephone: (213) 897-6505
  6    Fax: (213) 897-1071
       E-mail: jonathan.eisenberg@doj.ca.gov
  7   Attorneys for Defendant California Attorney
      General Kamala D. Harris
  8
  9                     IN THE UNITED STATES DISTRICT COURT
 10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11                                 WESTERN DIVISION
 12
 13   CHARLES NICHOLS,                            2:11-cv-09916-SJO-(SS)
 14                                  Plaintiff, NOTICE OF ERRATA
 15               v.                              Date:               N/A
                                                  Time:               N/A rd
 16   EDMUND G. BROWN JR., in his                 Crtrm.:             23 – 3 Flr.
      official capacity as Governor of            Judge:              Hon. Suzanne H.
 17   California, KAMALA D. HARRIS, in                                Segal
      her official capacity as Attorney Trial Date:                   Not Yet Set
 18   General of California, CITY OF    Action Filed:                 Nov. 30, 2011
      REDONDO BEACH, CITY OF
 19   REDONDO BEACH POLICE
      DEPARTMENT, CITY OF
 20   REDONDO BEACH POLICE
      CHIEF JOSEPH LEONARDI and
 21   DOES 1 to 10,
 22                               Defendants.
 23
 24        TO THE COURT, THE PARTIES, AND ATTORNEYS OF RECORD:
 25        Please take NOTICE that, yesterday, Defendant Kamala D. Harris, Attorney
 26   General of California (the “Attorney General”) mistakenly filed an incorrect
 27   version of her memorandum of points and authorities in opposition to Plaintiff
 28
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  1   Charles Nichols’s motion for partial summary judgment. That version should be
  2   disregarded. The Attorney General is submitting herein the correct, replacement
  3   version of the memorandum of points and authorities. The Attorney General’s
  4   Office apologizes for making this mistake and for any confusion that it may have
  5   caused.
  6   Dated: December 3, 2013                        Respectfully submitted,
  7                                                  KAMALA D. HARRIS
                                                     Attorney General of California
  8                                                  MARK R. BECKINGTON
                                                     Supervising Deputy Attorney General
  9
 10
                                                      /s/____________________________
 11                                                  JONATHAN M. EISENBERG
                                                     Deputy Attorney General
 12                                                  Attorneys for Defendant California
                                                     Attorney General Kamala D. Harris
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